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Case 2:09-cv-03162-MMM-VBK Document 4 Filed 05/12/09 Page 1 of 20 ED ID #:49

Attomeys for Plaintiff(s)

Audrae R. Jones and
James H. Jones, Sr.

1535 W. 55th Street
Los Angeles, CA 90062 CLERK US. DISTRICT COUR
. RAL DIST. OF CALIF.

In Pro Per : og FRGELES

2009MAY 12 AM 9:42

UNITED STATES DISTRICT COURT 5 Ofer -- ___|
CENTRAL DISTRICT OF CALIFORNIA

 

 

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Audrae R. Jones and
James H. Jones, Sr. CVO 0316 162.44" (ve
PLAINTIFF(S) CIVIL RIGHTS

DAMAGES and COMPENSATORY
. v. And Punitive Damages
City of Los Angeles and - 42 U.S.C. section 1981,

 

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City of Los Angeles Police 1983 and 1985
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a. Parties to this previous lawsuit:
Plaintiff_Audrae R,. Jones

 

Defendants Los Angeles County Department of Children and

Family Services

b. Court USDC Central District of California

 

Docket or case number SAC-vo9-00065 MMM (VBK)and CV09-00255MMM(VB
d. Name of judge to whom case was assigned _Victor B. Keaton

e. Disposition (For example: Was the case dismissed? If so, what was the basis for dismissal? Was it

appealed? Is it still pending?) Pending

f Issues raised: Retaliation , racial discrimination and Wrongful

 

 

Death and Conspiracy

 

g. Approximate date of filing lawsuit: 1/23/09 and 1/30/09

h. Approximate date of disposition Pending

 

B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

1. Is there a grievance procedure available at the institution where the events relating to your current complaint
occurred? ki Yes [No

2. Have you filed a grievance concerning the facts relating to your current complaint? 1 Yes (1 No

If your answer is no, explain why not_n/a
n/a

nia
3. Is the grievance procedure completed? O Yes ONo ( fail to reply)

 

If your answer is no, explain why not_Because the City of Los Angeles
and City of Los Angeles Police Dept. has delayed a response

 

. . (see attached)
4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

This complaint alleges that the civil rights of plaintiff_Audrae R. Jones and James H

(print plaintiffs name)
who presently resides at_1535 W. 55th Street Los Angeles, CA 90062

(mailing address or place of confinement)

 

were violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at

¥ 7 7 Gasatation/eity where violation occurred)

 

 

CIVIL RIGHTS COMPLAINT
CV-66 (7/97) Page 2 of 6

2.
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4. Plaintiff Audrae R. Jones, oS a 48 year old African
American female resident of Los Angeles County, currently
residing in the City of Los Angeles. At all times mention-

ed in this complaint, Plaintiff Audrae R. Jones was a U.S.
citizen.

5. Plaintiff James H. Jones, Sr. is a 72 years old

African American male resident of Los Angeles County, current-
ly residing in the City of Los Angeles. At all times mentioned
in this Complaint, Plaintiff James H. Jones, Sr. was a U.S.(A)
citizen.

6. Plaintiff Audrae R. Jones and James H. Jones, Sr. is in-
formed and believes, and thereon alleges, that at all times
mentioned in this complaint Defendant William Bratton and
Antonio R. Villaraigosa was the mayor of Los Angeles, and was
resposible for the supervision of subordinate personnel, as well
as for safety and protection of all its citizen in Los Angeles
City, including precinit.

7. At all times mentioned in this compliant, each individual
Defendant was acting in their official Capacity and in the

scope of their employment.
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on (date or dates) 4/7107 , 4/16/09 ,
(Claim Ty (Claim 11 (Claim 11)

NOTE: You need not name more than one defendant or allege more than one claim. If you are naming more than
five (5S) defendants, make a copy of this page to provide the information for additional defendants.

Defendant Antonio Vilaraigosa resides or works at
(full name of first defendant)

200 N. Los Angeles Street, City Hall LA, CA 90013
(full address of first defendant)

 

Mayor
(defendant's position and title, if any)

The defendant is sued in his/her (Check one or both): Ki individual official capacity.

Explain how this defendant was acting under color of law:

Deliberate indifference to the rights of Citizens, failure to train, supervise, and discipline staff, cover up and conspiracy

 

 

Defendant William J. Bratton resides or works at
(full name of first defendant)

150 North Los Angeles St., Los Angeles, CA 90013
(full address of first defendant)

Chief of Los Angeles Police Department
(defendant's position and title, if any)

The defendant is sued in his/her (Check one or both): &l individual official capacity.

Explain how this defendant was acting under color of law:

Diliberate indifference to citizens' rights, deliberate and purposeful discrimination, deliberate retaliation, and failure to train s

and supervise

\O Defendant John Romero, Lieutenant resides or works at
(full name of first defendant)

11640 Burbank Blvd. North Hollywood, CA 91610
(full address of first defendant)

Lieutenant _(818) 623-4016
(defendant's position and title, if any)

The defendant is sued in his/her (Check one or both): KX! individual official capacity.

Explain how this defendant was acting under color of law:
Deliberate Indifference to the rights of Citizens, failure to train, supervise and discipline staff,

cover up, conspiracy, and deliberate retaliation and racial discrimination

 

CIVIL RIGHTS COMPLAINT
CV-66 (7/97) Page 3 of 6
Case 2:09-cv-03162-MMM-VBK Document 4 Filed 05/12/09 Page 5of 20 Page ID #:53

on (date or dates) 4/4/07 , 4/16/09 ,
Clam (Claim Ty (Claim 1M)

NOTE: You need not name more than one defendant or allege more than one claim. If you are naming more than
five (5) defendants, make a copy of this page to provide the information for additional defendants.

| | Defendant Jon Goode #26865 resides or works at
(full name of first defendant)

7600 S. Broadway Los Angeles, CA 90003
(full address of first defendant)

 

Sergeant
(defendant's position and title, if any)

 

The defendant is sued in his/her (Check one or both): i individual official capacity.

Explain how this defendant was acting under color of law:

Deliberate indifference to the right of citizens, failure to train, supervise and discipline, cover up ,

 

conspiracy and retaliation and racial discrimination.

QB Defendant Gary Raives V9103 resides or works at
| (full name of first defendant)

150 North Los Angeles Street, LA, CA 90012
(full address of first defendant)

 

photographer
(defendant's position and title, if any)

The defendant is sued in his/her (Check one or both): 6 individual official capacity.

Explain how this defendant was acting under color of law:

Deliberate indifference to the rights of citizens, failure to train, supervise and discipline, cover up, denial of access

to court and deliberate retaliation and racial discrimination.

) % Defendant DOES 1-10 resides or works at
(full name of first defendant)

150 NORTH LOS ANGELES STREET LOS ANGELES,CA
(full address of first defendant)

LOS ANGELES POLICE OFFICERS
(defendant's position and title, if any)

The defendant is sued in his/her (Check one or both): CXm@ividual [48Hicial capacity.

Explain how this defendant was acting under color of law:
ndiff n o the right of citizen's cover-u and

Deliberate retialiation and racial discrimination

 

CIVIL RIGHTS COMPLAINT
CV-66 (7/97) Page 3 of 6
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} Defendant Chris Ramirez, sergeant resides or works at
(full name of first defendant)

2710 West Temple Street, LA, CA 90026
(full address of first defendant

LAPD Sergeant
(defendant's position and title, if any)

The defendant is sued in his/her (Check one or both): Ki individual official capacity.

Explain how this defendant was acting under color of law:

Deliberate indifference to the rights of citizens, failure to train, supervise and discipline staff, cover up, conspiracy

and retaliation and racial discrimination.

|S Defendant Bill Driver, Sergeant resides or works at

(full name of first defendant)

200 No. Main Street Room 200, LA, CA 90012
(full address of first defendant)

Sergeant of LAPD
(defendant's position and title, 1f any)

 

The defendant is sued in his/her (Check one or both): Kl individual &l official capacity.

Explain how this defendant was acting under color of law:

Deliberate indifference to the rights of citizens, failure to train, supervise and discipline staff, cover up, conspiracy

and retaliation and racial profile.

 

CIVIL RIGHTS COMPLAINT ,
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FACTS

13. On or about April 7, 2007, approximately 0400am, the Plaintiff Audrae R. Jones
And James H. Jones, Sr. resided at 1535 W. 55"" Street, Los Angeles, CA, when
Defendants John A. Romero, #25756, Jon Goode #26865, Gary Ravies, Chris
Ramirez #25666, and Bill Driver Doe 1 through 10 from (ATF) Alcohol, Tobacco
and Firearms (and FBI) Federal Bureau of Investigation tore down the front door of
Plaintiffs’ house and entered with guns and mace drawn out.

14. Plaintiff Jones and Jones Sr. alleged that Defendants William J. Bratton, Chief
of Los Angeles Police Department and Major Antonio R. Villaraigosa, issued a
memo dated 4/12/07 to all members of the 77 Street Community who were
allegedly gang members residing in or around the 77" Street Division.

15. Plaintiff Jones and Jones Sr. alleges they had Defendants Romero #25426, Jon
Goode #26865, Gary Ravies, Ramirez #25666, Driver and Doe 1 through 10 had
illegally and unlawfully raided Plaintiff Jones Sr.’s house and took his possessions,
such as a safe, gun, saving bonds, and other saundry papers and items without a
warrant issued for James H. Jones, Sr.

16. Plaintiff Audrae R. Jones alleges that Defendants Romero #25726, Ravies,
Goode #26865, Ramirez# 25666, Driver and other Does 1 through 10 had guns
drawn at her head in her night gown.

17. Plaintiff Audrae R. Jones also alleges she called 911 to complain about intruders
at her door stating that they were the police, the operator told Plaintiff Audrae R.
Jones, that there were no officers at the 1535 W. 55" Street address.

18. Plaintiff Jones Sr alleges that Defendant Romero #25726, Raives, Goode #26865,
Ramirez #25666, Driver, and other Does 1 through 10 confiscated his safe,
threatened and intimated him into open in and/or giving him the keys to open it.

19. Plaintiff Jones Sr. complied with the Defendants, who took his possessions and
never returned in (2) two years, nor did Defendants William J. Bratton, Chief
and/or Antonio R. Villaraigosa, Mayor issue any letters to him to come and pickup
his property in 2 years.

20. Plaintiff Jones and Jones Sr., filed LAPD complaints against Defendants
Romero #25726, Ravies, Goode 26865, Ramirez 25666, Driver, and other Does 1
through 10, BUT Doe 11 did not respond to their Citizen’s compliant, thereby
obstructing Plaintiffs Jones and Jones Sr. access to state/federal court to redress
grievances.
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21. From April 7, 2007 to April 15, 2009, Plaintiffs Jones and Jones, Sr. submitted
numerous LAPD Citizen’s Complaint and wrote letters to Defendants William
Bratton, and/or Antonio R. Villaraigosa about returning property and/or officers
conduct, to no avail.

22. On April 15, 2009, approximately 1:30 pm, the Plaintiff Jones Sr. hand
delivered a LAPD complaint to 77" Street Division Police Department, who talked
to Sergeant Chavas who investigated the matter, and discovered that the Defendants
had his property for over 2 years, which he wasn’t notified of.

23. On the same day, the Plaintiff Jones Sr. had spoke to Detective II Martina
Villalobos about the return of property, who told Plaintiff Jones Sr., she had to go to
the Second Appellate District Judge to sign off on property.

24. From April 7, 2007 to April 15, 2009, Defendants have repeatedly delayed,
denied and/or withheld his property and fail and refuse to return it. Said
intentional confiscation of property, included, but not limited to, gun, safe, savings
bonds , and jewelry.

25. From April 7, 2007 to April 15, 2009, Defendants have, on a sporadic basis,
failed and refused to return property and/or inform of property and pay for
replacing door. Defendants have also on several occasions during this time period
failed to provide Plaintiff Jones and/or Jones, Sr. with necessary paper to fill our
and/or pick up property illegally taken for 2 years.

26. From April 7, 2007 to present Defendants have subjected Plaintiff to hostility
and abuse in apparent retaliation for Plaintiffs effort to report the illegal search and
seizure of their home with a proper search warrant. Said conduct of the Defendants
has included, but not limited to submitting false statements and/or misleading
reports on Plaintiffs’ address that gang members live at their location, and/or
denying and/or obstructing the grievance system for irregularly long periods of
time, denying and withholding access to Plaintiff's property.

27. Plaintiff Jones and Jones, Sr. filed numerous letters and LAPD Employee
misconduct complaints through Defendants Doe 16 internal affairs and City of Los
Angeles relative to Defendant’s conduct described herein above. On such letter
dated from April 7, 2007 to present (see exhibit A through D), wherein Plaintiffs
complained of their abuse and illegal search and seizure.

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28. The individual Defendants acted and conspired together to conceal and cover
up the true facts surrounding their deliberate indifference and racist conduct.
From April 7', 20007 to present Plaintiff had been impeded in their ability to pursue
exhaustion of remedies and seek their property by Defendants, subjected to .
deliberate retaliation and deliberate and purposeful discrimination by Defendants
conduct to discourage Plaintiffs from filing complaints concerning their property
and racially motivated search, refused to cooperative with Plaintiff in processing
their grievances and/or request. This attempt to cover up and conceal the true facts
surrounding the illegal search and seizure and deliberate indifference to
health/safety by Defendants intentional creation of false documents to exclude from
the grievance. In addition, Defendants fabricated evidence, doctored evidence, and
falsified and misrepresented the true facts concerning their property and illegal
search and seizure and denied and obstructed judicial review for 2 years.

29. After the deliberate retaliation and purposeful discrimination and unjustifiable
delay in access to the grievance system certain Defendants conspired to deny and
obstruct their access to the court and government complaint review board of the
Internal Affairs office. Plaintiff’s has suffered actual injury to their health, mental
and emotional aguish and retaliation and discrimination in challenging defendants
illegal search and seizure.

30. Plaintiff is informed and believes, and therein alleges that perpetrating the
foregoing acts, each individual defendant(s) was the agent or employee of each other
defendant, was acting under the color of law within the course and scope of such
agency or employment and was acting under color of state law and municipal
authority.

31. The Defendants Bratton and Villaraigosa ether explicitly and/or implicitly
authorized and ratified the outrageous conduct and wrongful acts perpetrated by
certain of the Defendants herein. The Plaintiffs James H. Jones, Sr. and Audrae R.
Jones illegal search and seizure was retaliatory was foreseeable results of the defacto
policies, practices, and pervasive and enduring customs of Defendant Antonio
Villaraigosa and to punish and retaliate against Black citizens reporting such
invasive practices, subject to officers misconduct and retaliate without allowing
Plaintiff and/or Citizen’s to access the grievance system and court and inherently
violent and dangerous searches, verbal abuse practices and conceal and other wise
cover up the wrongful illegal search and seizure. In particular, Audrae R. Jones
and James H. Jones, Sr. were reasonably foreseeable products of City of Los
Angeles and City of Los Angeles Police Department tactics against citizens who
report staff misconduct. Further foster and atmosphere of overt and passive racism,
which the Defendants City of Los Angeles and City of Los Angeles Police
Department contribute substantially to the nature and severity of Plaintiffs injuries.
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32. For a substantial period of time prior to, comtemporeously to Plaintiff Audrae
R. Jones and James H. Jones Sr., Plaintiff was subjected to deliberate retaliation
and deliberate and purposeful discrimination by Defendants Bratton who
implemented and maintained and tolerated the following practices and customs:

a. Hiring and/or failing to assign, supervise and control officers conduct known of
or should have known of officers who deliberatively, discriminated and/or abuse
citizens.

b. Failing to properly discipline officers who engaged in the deliberate indifference
to health/safety.

c. Failing to conduct adequate investigation of reported officer misconduct and
maintain and organize effective system for reporting and investigating incidents:

d. Discouraging the public from reporting officers misconduct and otherwise acting
to conceal and cover up officer culpability:

e. Improperly training officers with respect to, among other things, properly
searching citizen’s houses;

f. Fostering a code of silence among the rank of LAPD and Internal Affairs Office;

33. Plaintiffs Audrae R. Jones and James H. Jones Sr. deliberate retaliation and
illegal search and seizure was reasonable foreseeable results of each Defendants
defacto policies, practice and customs alleged in Paragraph 32 herein above,
acquiesced in and condoned such policies, practices and customs, and were
deliberately indifferent to their foreseeable affect and consequences with respect to
the Constitutional Rights of Plaintiffs and/or other similar situated.

34. In perpetrating, sanctioning, tolerating and /or ratifying the outrageous conduct
and wrongful acts described herein defendants, each of them were deliberate
indifferent and motivated by class based racial animus characterized by invidious
anti-black hatred resentment and hostility. Defendants acted with an intentional
reckless and/or callous disregard for and deliberate indifference toward the life of
Plaintiffs Audrae R. Jones and James H. Jones , Sr. and their human constitutional
rights. Defendants actions each of them shocked the conscience and were willfully
oppressive, malicious, fraudently and highly offensive to any person of normal
sensibilities.

35. Notwithstanding Audrae R. Jones and James H. Jones Sr. willingness to comply
with officers, Defendants directives, they denied and excluded from their personal
property resulting from illegal search and seizure. The foregoing tactics were
entirely our of proportion to the policies and practices of the city of Los Angeles

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Police Department, and of strenuous and prolong application as to outrage and
offend a person of normal sensibilities.

36. As a direct and immediate result of the foregoing aforementioned deliberate
retaliation and deliberate and purposeful discrimination and illegal search and
seizure grave bodily and emotional injuries causing permanent injury to both their
persons and psyches. Plaintiff has been hurt and injured in their health, strength,
mental stability and access to the courts, all of which injuries have caused and
continue to cause Plaintiff great physical and emotional pain and suffering, shock,
distress, anxiety, heart and health problems, degradation, humiliation and anguish.
Further, the polices , practices and customs implemented and maintained and
tolerated by the Defendants Villaraigosa and Bratton, supervising personnel and
policy makers of the entities, were affirmatively linked to and the moving force
behind the injuries and other damages sustained by the Plaintiff herein.

37. Foregoing injuries caused Plaintiff to accrue loss of work, loss of job,
medical/mental health related expenses in amount in accordance with proof.

38. On or about April 2007, the Plaintiff Audrae R. Jones and James H. Jones, Sr.
submitted a claim for damages to the City of Los Angeles.

39. On or about January 31, 2008, the City of Los Angeles did acknowledge receipt
of Plaintiff Audrae R. Jones’ claim (see Exhibit A)

40. Plaintiff Jones H. Jones, Sr. did not receive a response to his claim made with
his daughter Audrae R. Jones in separate envelope.

41. On or about April 14, 2009, Plaintiff James H. Jones, Sr. had hand walked a
claim for damages for April 7, 2007 and April 14, 2009 to the City of Los Angeles
clerk’s office. (see Exhibit B and C ).

42. On or about April 17, 2009, the City of Los Angeles did acknowledge receipt of
Plaintiff James H. Jones, Sr. claim using the forms designated by the City of Los
Angeles. The claim state the basic facts giving rise to the case of action herein and
set forth Plaintiff’s Claim with particularity (see Exhibit A, Band C )

FIRST CLAIM FOR RELIEF

(Violation of Forth Amendment, Right to have personal Safety)

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43. Plaintiffs Audrae R. Jones and James H. Jones Sr., realleges and incorporates
by reference each of the general allegations of Paragraph 13 through 42, inclusive,
as if alleged herein.

44. Defendants have denied Plaintiffs Audrae R. Jones and James H. Jones Sr. their
Fourteenth Amendment Right to be free from illegal search and seizure and right to
be from cruel and unusual punishment in the form of deprivation of personal safety,
thus denying a basic human need guaranteed to citizen’s by the United States
Constitution.

45. In doing as alleged herein above, Defendants acted with deliberate indifference
to Plaintiff Audrae R. Jones and James H. Jones, Sr. personal safety, and subjected
them to unnecessary and wanton infliction of pain, including physical injury and
psychological and emotional distress, in violation of their rights under the
Fourteenth Amendment. Specifically, Defendants were deliberately indifferent to
Plaintiff Audrae R. Jones and James H. Jones, Sr. Personal safety when they
intentionally, knowingly, ad maliciously inflicted physical abuse and humiliation on
Plaintiffs by subjecting them to illegal search and seizure.

46. Defendants acted despicably, knowingly, willfully and maliciously, or reckless
or callous disregard for Plaintiff Audrae R. Jones and James H. Jones, Sr. federally
protected rights.

47. As a direct and proximate result of all the Defendants actions herein alleged,
Plaintiff's suffered and continue to suffer, physical and emotional injury. Plaintiffs
Jones and Jones, Sr. is entitled to an award of compensatory and punitive damages
for injuries suffered.

SECOND CLAIM FOR RELIEF

(Violation of Plaintiffs Fourteenth Right to the United States Constitution
Conspiracy and Retaliation and Discrimination)

48. Plaintiff realleges and incorporates each allegation of Paragraph 13
through 42, inclusive, as if alleges herein.

49. Plaintiffs have been deprived by Defendants acting under color of the
state law, willfully, intentionally, and knowingly, and immunities secured by
the Constitution and the laws of the United States including, the Fourteenth
Amendment, inter alia;

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a. Failing and/or refusing to process grievances;
b. Failing and/or refusing to investigation officier misconduct;

c. Intentionally, knowingly and despicably subjecting Plaintiff to illegal
search and seizure.

d. Interfering with Plaintiff’s right to redress grivence for their injuries to
conceal and cover up for Defendants misconduct;

e. Combing and conspiracy to deprive of Plaintiffs of their federally
constitutionally protected right;

f. Denying Plaintiff of due process of law; and

g. implementing, maintaining and tolerating polices, practices and customs
which resulted in the illegal action and approximately caused Plaintiff Jones
and Jones Sr. injuries here alleged.

THIRD CLAIM FOR RELIEF

(Defendants conspired to Deprive of Access to Courts Rights and Privileges)

50. Plaintiffs realleges and incorporate by reference each alllegation of Paragraph
13 through 42, inclusive, as if alleges herein.

51. By subjecting Plaintiff to deliberate realiation, deliberate and purposeful -
discrimination, threats, intimidation and punishment for writing Internal Affairs
Office, the Defendants violated Plaintiff’s Fourteenth Amendment Right by
subjecting to threats, intimidation, and punishment by subjecting to retaliation and
denial of access to the courts. Defendants are fully aware of the risk and deliberate
indifferent to the possible consequences to Plaintiff right.

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FOURTH CLAIM FOR RELIEF

(Government Interference and Denial of Right of Access to Courts and
Discrimination and Retaliation)

52. Plaintiff realleges and incorporates by reference each allegation by reference of
Paragraph 13 through 42, inclusive, as if alleges herein.

53. Defendants heave further violated Plaintiffs first Amendment Right in that
Plaintiff Audrae R. Jones and James H. Jones, Sr. illegal search and seizure, right to
file complaints, and racial discrimination was discriminatory and retaliatory and
constituted retaliation taken against Plaintiffs for the exercise of their
constitutionally protected right to engage in legal and legitimate civil rights actions.

FIFTH CLAIM FOR RELIEF

(The Defendants should Pay Attorney Fees)

54. Plaintiff realleges and incorporate by references each allegation of Paragraph
13 through 42, inclusive, as if alleges herein.

55. 42 U.S.C. Section, 1988. Defendants should pay for attorneys fees to the extent
the personal resources of the individual Defendants herein are deficient in the
amount necessary to furnish a suitable remedy to Plaintiff, Defendants City of Los
Angeles and City of Los Angeles Police Department are liable for such deficiencies
pursuant to California Code Section 815.2(a).

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Audrae R. Jones and James H. Jones, Sr. seeks
judgment as follows:

a. Compensatory, general and special damages in the amount accordance
with proof:

b. Punitive damages (against each of the individual Defendants) in the
amount sufficient to deter others;

c. Reasonable attorney’s fees and expenses of litigation;

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Verification

We are the Plaintiffs in this action, we have read the foregoing Civil
Rights Action and the facts stated therein are true dated on my own
information and belief, and as to those matters we believe them to be
true. Executed on April 22, 2009, at Los Angeles, CA.

udrae R. Jones

 

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d. Cost of suit necessary and incurred, and

e. Such further relief as the court deem just and proper.

Dated: April 22, 2009 Respectfully Submitted,

 

Audrae R. Jones

In Pro Per

James H. Jones
In Pro Per
Case 2:09-cv-03162-MMM-VBK Document 4 Filed 05/12/09 Page 17 of 20 Page ID #:65

PROOF OF SERVICE BY MAIL
C.C.P. 1013a

I declare that I am a resident of or employed in the County of __Los Angeles ,
California. I am over the age of 18 years and-net-a party to the within entitled cause. The name
and address of my residence or business is |b3BS W.OBTR 37_

las Angeles CQ 40062.
I am readily familiar with the ordinary practice of the business of collecting, processing and

depositing correspondence in the United States Postal Service and that the correspondence will
be deposited the same day with postage thereon fully prepaid.

On (apy ( Zar420%, I served the Sunn and (omphact
Neheo?), Lidl ny Serra [cover Sec

on the parties listed below by placing a true copy thereof enclosed in a sealed envelope for

 

 

collection and mailing in the United States Postal Service following ordinary business practices

at Los Arno Dae , California addressed as follows:

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FID Noth Spragadet Kn. GB
ag, 4o00|3

Las Avoyelon

 

I declare under penal of perjury that the foregoing is true and correct and that this

declaration was executed on fi { Al ao. oF , at Cp i, Angele)

California.
pudvas 2. Tonks (dae

(Type or print name) , (Signature) U

 

 
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DEFENDANTS

| (a) PLAINTIFFS
City of Los Angeles and

Audrae R. Jones and
James H. Jones, Sr. City of Los Angeles Police
Department

et al
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(Db) COUNTY oF NESIOENCE OF FIRST LISTED PLANE
(ERCE PT IAS. PLANTIF Cages)

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UM U.S. PLAUINTIFP CASES ONLY} ——

MOTE: WH LAND CONDEMNATION CASES, USE THE LOCATION OF Thy
TRACT OF LANG INVOLVED

 

ATTORNEYS OF KNOWN
City of Los Angeles
Attorney's Office

(6) ATTORNEYS (Finu nah, ACOMESS, ANG TELEPHONE NUMBER)

1535 W. 55th Street
Los Angeles, CA 90062

 

 

 

 

 

i. BASIS OF JURISDICTION ceuce an = in omg aon oncy) | ‘Il, CITIZENSHIP OF PRINCIPAL PARTIES CRACE AN IN ONE BC
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IV, ORIGIN (PLACE AN x IN ONE BOX ONLY) aposss
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V. REQUESTED IN (lcnecx w Tus sa CLASS ACTION DEMAND $ neck YES ony ¢ aamanced nc
COMPLAINT: UNOER F.A.C.P. 23 : JURY DEMAND: (C] ve

$1,500.000.00 $1,500,000.00
Vi. CAUSE E OF ACTION (CIE THE U.S. CML STATUTE UNDER WHICH You AA FUNG AND WATE A BRIEF STATEMENT OF CAUSE.
DO NOT CITE JURISDICTIONAL STATUTES UNLESS OVERSITY.) —
(4th and 14th Amendment to U.S. “Constitution) Illegal search
and seizure, retaliation and racial discrimination.

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Vil. NATURE OF SUIT (PLACE AN « IN ONE BOX ONLY)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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VII. RELATED CASE(S)
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dr other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974,
required pursuant to Local Rule 3. 3 and is used by the Clerk Of Court forthe purpose of initiating the civil docket sheet. (For mo
detailed instructions, see separate instructions sheet)

 

 
   

AF 1] 5 OME : , W
Has this action previously been fild and dismissad, remanded, or cload?
X_No Yes Case No.

 

RELATED CASE(S), IF ANY:
CIVIL CASES ARE DEEMED RELATED IF A PREVIOUSLY FILED CASE AND THE PRESENT CASE:

A. Appear to arise from the same or substantially identical trmsactions, happenings of events

 

Involve the same or substantially the same parties or property;

Involve the same papent, trademark or copyright; ;

Call for determination of the same or substantislly identical questions of law, or

Likely for other-ressons msy entail unnecedsary duplication of labor if heard by different judges.

mon #

 

List the California County or State (if other than California) in which each named plaintiff resides. (Use an additional sheet
necessary) :
.LOS ANGELES COUNTY

List the California County or State (if other than California) in which each named defendant resides. (Use an additional sheet
necessary)

LOS ANGELES COUNTY

List the California County or State (if other than California) in which each claim arose, (Use an additional sheet if necessary)

LOS ANGELES COUNTY

 

Kay to Statistical Codes relating to Social Security Cases:

NATURE OF
SUITCODE ABBREVIATION CAUSE OF ACTIO
$61 HIA All claims for health insurance beacfita (medicare) uader Tite 18, Part A, of the So..al Security Act, as amended. Als
inchude claims by hospitals, akilled mirsing ecilities, ste., fee conification os prov.ders of strvices under the progres
(42 USC 1935FF.(b))
362 BL All claims for “Black Lung’® benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. ©
USC 923)
363 prwe All claims filed by insured workers for dissbility insurance benefits under Tite 2 of tha Social Security Act, as amendc
plus all claims filed for child's insurance benefits based on disability, (42 USC 405(g))
36) prvw All claima filed for widows of widower inmrance benefits based on disability under Tie 2 of the Social Securty Ac
as amanded, (42 USC 405(g))
464 ss All claims for supplements! security income paymenus based upon disability filed under Tile 16 of the Social Secunty Ac

as amended.

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A) STATES DISTRICT COURT
ENTRAL DISTRICT OF CALIFORNIA
Audrae R. Jones and James H. Jones, Sr. CASE NUMBER

PLAINTIFF(S) CV09-3162 MMM (VBK)

V.
City of Los Angeles and City of Los Angeles Police

Department

 

SUMMONS
DEFENDANT(S).

 

 

TO: DEFENDANT(S): A
A lawsuit has been filed against you. og wse®

Within 20 daysa FOR QRXiee on you (not counting the day you received it), you

 

must serve on the anit an al ie QE uM complaint O amended complaint
(1 counterclaim O cross-claim ot a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attorney, Audrae R. Jones , whose address is
1535 W. 55th Street, Los Angeles, CA 90062 . If you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S. District Court
Dated: 5/12/09 By: C. Powefs cf hl
Deputy Clerk
(Seal ourt)
[Use 60 days if the defendant i is the United States or a United States age WSF QW. of the United States. Allowed

Sign i) FOR oRrIct

 

CV-O1A (12/07) SUMMONS
